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                                                                     CIRCUIT COURT OF
                                                                HOUSTON COUNTY,ALABAMA
                                                                 CARLA H.WOODALL,CLERK
     IN THE CIRCUIT COURT OF HOUSTON COUNTY;ALABAMA -- "
PEGGY QUATMEBAUM and        )
JAMES QUATTLEBAUM,          )
                            ) Plaintiffs demand a trial byjury.
                            )
                            )
vs.                         )
                            ) Case No.
FEDERAL EXPRESS CORPORATION )
AND Flamm DEFENDANTS A )
MROUGH F,                   )
                            )
    Defendants.             )

                                  COMPLAINT

  Peggy Quattlebaum and James Quattlebaum file this Complaint against Federal.

Express Corporation and fictitious defendants under Alabama Rule of Civil

Procedure 9(h).

                              Nature ofthis Action
   1. Peggy Quattlebaum seeks damages for personal injuries caused by a
malfunctioning automatic door at the Federal Express location in Dothan,A]abama.

James Quattlebaum seeks d.amages for his wife's loss ofconsortium.

                    General and Jurisdictional Allegations
   2. James Quattlebaum is a resident of Washington County, Florida.
   3. Peggy Quattlebaum is a resident of Washington County,Florida.

   4. James and Peggy Quattlebaum (collectively referred to as "Plaintiffs') are

husband and wife and were husband and wife on October 7,2017.
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   6. Upon infarmation and belief, Defendant Federal Express Corporation

(Federal Express>is a foreign,corporation licensed to do business in the State of

Alabama.

   8. Fictitious Defendants A,B,and C are persons or entities responsible for

maintaining the door in a safe,operable condition.

   7. Fictitious Defendants D,E,and F are persons or entities who,on or before

October 7, 2017,failed to use reasonable care in repairing the door causing to be in

a dangerous condition.

   8. The acts or omissions giving rise to this Complaint occurred in Houston

County, Alabama.

   9. The amount in controversy exceeds $1.0,000.00, exclusive of interest and cost.

                                Stathment ofthe Facts

    10. On or about October 7,2017,Peggy Quattlebaum was entering the Federal

Express location on Woodburn Drive in Dothan, Alabama.

    11. PlaintiffPeggy Quattlebaum was an invitee at the Federal Express facility

at the expressed or implied invitation of Federal Express and Peggy Quattlebaum

was there for a business purpose.

    12. Entry to this particular Federal Express lacation is through automatic

sliding doors.

    13. At the time Peggy Quattlebaum entered the Federal Express location, the

 door were slightly open, and a sign on the sliding door instructed that to enter the

location it was necessary to manually pull the doors open.


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   14. Peggy Quattlebaum pulled the doors open as instructed on the sign.

   15. When she attempted to close the doors, the doors suddenly closed on her

arm,jerking her forward.

   16. Peggy Quattlebaum immediately felt pain in her right arm and shoulder.

   17. Because of having her arm caught in the door,Peggy Quattlebaum suffered

serious, permanent injuries.

                                     Count One
                                     Negligence

   18. PlaintiffPeggy Quattlebaum restate each material allegation contained in

paragraphs one through seventeen, as though fully set out in this Count.

   19. Defendant Federal Express owed Plaintiff Peggy Quattlebaum the duty to

exercise reasonable care not to injure or damage Peggy Quattlebaum and to exercise

such reasonable care as a reasonably prudent person would have exercised under

the same or similar circumstances.

   20. The entry was to the Federal Express facility on Woodburn Avenue was not

in a reasonably safe condition because of a malfunctioning automatic door.

   21. Federal Express knew or should have known about the dangerous condition.

   22. Defendant Federal Express breached its duty to Plaintiffs by negligently

allowing a dangerous condition to exist on its property.

   23. Defendant Federal Express negligence includes, but is notlimited to,failing

to warn about the dangers of the door;failing to take reasonable measures to allow

entry and exit to its facility without subjecting its customers to a risk ofinjury; and

failure to take reasonable measures to timely repair the door.
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   24. PlaintiffPeggy Quattlebaum was injured as a direct and proximate result of

Defendant Federal Express's negligent conduct. Plaintiff Peggy Quattlebaum has

sustained.damages as a direct and proximate cause of Federal Express% negligent

conduct:(1)past and future medical expenses;(2)past and future physical pain and

suffering;(3) past and future mental anguish; and(4)permanent injuries and

disabilities.

   25. Defendants A,B,and C failed negligently maintained the automatic door.

Defendants A,B,and Cs negligent conduct was a proximate cause ofPlaintiff

Peggy Quattlebaum's injuries.

   26. Defendants D,E,and F failed to use reasonable care in the repair of the

automatic door. Defendants A,B,and Cs negligent conduct was a proximate cause

of PlaintiffPeggy Quattlebaum% injuries.

   PlaintiffPeggy Quattlebaum respectfully demands a judginent against

Defendants Federal Express, A,B, C,D,E,and F(collectively referred to as

Defendants)in an amount sufficient to compensate her for injuries and damages

proximately caused by Defendants'negligent conduct,an award ofcosts as allowed

by law,and prejudgment and post-judgment interest.

                                    Count Two
                                Lose of Consortium

   27. James Quattlebaum restates every material allegation contained in

paragraphs one through twenty-six into Count Two.




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   28. Because of the negligence ofDefendant Federal Express,PlaintiffJames

Quattlebaum has sustained damages by the loss of his wife's consortium and

services. .

   Plaintiff James Quattlebaum respectfully demands a judgment against

Defendants in an amount sufficient to compensate him for the loss of his wife's

consortium and services, prejudgment and post-judgment interest,and an award of

costs and expenses as allowed by law.

Dated: January 25,2019                  TAYLOR LAW GROUP,LLC




                                        1st J.Farrest Taylor
                                        J. FARREST TAYLOR erAY033)
                                        206 East Main Street
                                        Dothan, Alabama 36301
                                        Ph.(334)350-3855
                                        Fax(833)228-5646
                                        ftavlorNtaylawgtoup.com


                                  JURY DEMAND

      Plaintiffs respectfully demand trial by jury.


                                              /s/ J. Farrest Tavlor
                                              J. FARREST TAYLOR(TAY033)



Defendant to be serval by Certified Mail;

Federal Express Corporation
c/o CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104

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